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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                   )
In re:                                                             )     Chapter 11
                                                                   )
YELLOW CORPORATION, et al.,1                                       )     Case No. 23-11069 (CTG)
                                                                   )
                                Debtors.                           )     (Jointly Administered)
                                                                   )
                                                                   )

                                                        Objection Deadline: December 11, 2023 at 4:00 p.m. (ET)
                                                                      Hearing Date: Scheduled only if necessary

       NOTICE OF FIRST MONTHLY APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
    AS CO-COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR THE
            PERIOD FROM AUGUST 1, 2023 THROUGH AUGUST 31, 2023

                   PLEASE TAKE NOTICE that on November 20, 2023, Pachulski Stang Ziehl &

Jones LLP (“PSZ&J”), co-counsel to the debtors and debtors in possession (collectively, the

“Debtors”), filed the First Monthly Application for Compensation and Reimbursement of

Expenses of Pachulski Stang Ziehl & Jones LLP, as Co-Counsel for the Debtors and Debtors in

Possession, for the Period from August 1, 2023 through August 31, 2023 (the “Application”)

seeking fees in the amount of $248,845.50 and reimbursement of actual and necessary expenses

in the amount of $59,133.50. A copy of the Application is attached hereto.

                   PLEASE TAKE FURTHER NOTICE that any response or objection to the

Application, if any, must be made in writing and filed with the United States Bankruptcy Court

for the District of Delaware, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801

(the “Court”) on or before December 11, 2023 at 4:00 p.m. Eastern Time.


1
     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
     place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
     Overland Park, Kansas 66211.



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                   The Application is submitted pursuant to the Order (I) Establishing Procedures

for Interim Compensation and Reimbursement of Expenses for Retained Professionals and (II)

Granting Related Relief, entered on September 13, 2023 [Docket No. 519] (the “Administrative

Order”).

                   PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon: (a) the Debtors, Yellow Corporation, 11500

Outlook Street, Suite 400, Overland Park, Kansas 66211, Attn.: General Counsel; (b) counsel to

the Debtors (i) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois, 60654, Attn.:

Whitney           Fogelberg       (whitney.fogelberg@kirkland.com)           and         Rob        Jacobson

(Rob.Jacobson@kirkland.com) (ii) Kirkland & Ellis LLP, 601 Lexington Avenue, New York,

New York 10022, Attn.: Allyson B. Smith (allyson.smith@kirkland.com); and (iii) Pachulski

Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, PO Box 8705, Wilmington,

Delaware 19801, Attn.: Laura Davis Jones (ljones@pszjlaw.com), Timothy P. Cairns

(tcairns@pszjlaw.com),          Peter   J.   Keane    (pkeane@pszjlaw.com),        and    Edward      Corma

(ecorma@pszjlaw.com); (c) the Office of the United States Trustee for the District of Delaware,

844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn.: Jane Leamy

(jane.m.leamy@usdoj.gov) and Richard Shepacarter (richard.shepacarter@usdoj.gov); (d)

counsel to the Committee (i) Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, Bank of

America        Tower,       New    York,     NY      10036-6745   US,   Attn.:      Philip     C.    Dublin

(pdublin@akingump.com), Meredith A. Lahaie (mlahaie@akingump.com), and Kevin Zuzolo

(kzuzolo@akingump.com) and (ii) co-counsel to the Committee, Benesch Friedlander Coplan &

Aronoff LLP, 1313 North Market Street, Suite 1201, Wilmington, DE, 19801, Attn.: Jennifer R.

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(e) counsel to the Junior DIP Lender, (i) Quinn Emmanuel Urquhart & Sullivan, 865 S. Figueroa

St., 10th Floor, Los Angeles, CA 90017, Attn.: Eric Winston (ericwinston@quinnemanuel.com)

and 51 Madison Avenue, 22nd Floor, New York, NY 10010, Attn: Susheel Kirplani

(susheelkirpalani@quinnemanuel.com), and (ii) Ropes & Gray LLP, 191 North Wacker Drive,

32nd Floor, Chicago, IL 60606, Attn: Lucas S. Smith (Luke.Smith@ropesgray.com) and

1211 Avenue of the Americas, New York, NY 10036, Attn: Natasha S. Hwangpo

(Natasha.Hwangpo@ropesgray.com); (f) counsel to the Junior DIP Agent, Holland & Knight

LLP, 50 N. Riverside Plaza, Suite 2700, Chicago, IL 60606, Attn.: Joshua M. Spencer

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to the B-2 Lenders, White & Case LLP, 1221 Avenue of the Americas, New York, NY 10020

Attn.: Scott Greissman (sgreissman@whitecase.com), Elizabeth Feld (efeld@whitecase.com),

and Andrew Zatz (azatz@whitecase.com); (h) counsel to the Prepetition ABL Agent, Choate,

Hall & Stewart LLP, Two International Place, Boston, MA 02110, Attn.: Kevin Simard

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Lovells US LLP, 390 Madison Avenue, New York, NY 10017, Attn: Ronald J. Silverman

(ronald.silverman@hoganlovells.com)              and       Christopher             R.        Bryant

(chris.bryant@hoganlovells.com); (k) counsel to the Prepetition UST Tranche B Agent, Hogan

Lovells US LLP, 390 Madison Avenue, New York, NY 10017, Attn.: Ronald J. Silverman

(ronald.silverman@hoganlovells.com)              and       Christopher             R.        Bryant

(chris.bryant@hoganlovells.com); (l) counsel to the United States Department of the Treasury,



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Arnold & Porter Kaye Scholer LLP, 70 West Madison Street, Suite 4200, Chicago, Illinois

60602, Attn: Michael Messersmith (michael.messersmith@arnoldporter.com), 250 West 55th

Street, New York, NY 10019, Attn: Benjamin Mintz (benjamin.mintz@arnoldporter.com), and

601     Massachusetts           Ave.,   N.W.,    Washington,    DC   20001,     Attn.:   Rosa   Evergreen

(rosa.evergreen@arnoldporter.com); (m) the United States Department of Justice, 1100 L St NW

Rm 7102, Washington, DC 20005-4035, Attn.: I-Heng Hsu (I-Heng.Hsu@usdoj.gov) and

Crystal Geise (Crystal.Geise@usdoj.gov).

                   PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS ARE

FILED AND SERVED IN ACCORDANCE WITH THE ABOVE PROCEDURES, THEN 80%

OF FEES AND 100% OF EXPENSES REQUESTED IN THE APPLICATION MAY BE PAID

PURSUANT TO THE ADMINISTRATIVE ORDER WITHOUT FURTHER HEARING OR

ORDER OF THE COURT.




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                   IF A TIMELY OBJECTION IS FILED AND SERVED, A HEARING ON THE

APPLICATION WILL BE HELD AT A DATE AND TIME TO BE DETERMINED.



Dated: November 20, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)        Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)        David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)           Whitney Fogelberg (admitted pro hac vice)
Edward Corma (DE Bar No. 6718)             KIRKLAND & ELLIS LLP
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                                           Co-Counsel for the Debtors and Debtors in Possession




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